                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TENNESSEE



  ELECTRIC INSURANCE COMPANY



  v.                                                         No. 1:11-cv-261


  DAVID A. MICHEL, AND
  CHECK INTO CASH, INC.



                   AMENDED COMPLAINT FOR DECLARATORY JUDGMENT

          COMES NOW Electric Insurance Company (hereinafter referred to as “Electric”),

  Plaintiff in the above-styled action, for its Complaint for Declaratory Judgment against David A.

  Michel (herein after “Defendant Michel) and Check Into Cash, Inc. (herein after “Check into

  Cash”) states as follows:


                              PARTIES, JURISDICTION AND VENUE

                                                 1.

          This is an action for Declaratory Judgment, brought pursuant to Rule 57 of the Federal

  Rules of Civil Procedure and 28 U.S.C. § 2201, 2002, to declare the rights and other legal

  obligations surrounding questions of actual controversy which presently exist between Plaintiff

  Electric and Defendant Michel.




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         At all times relevant hereto, Electric is a corporation organized and existing under the

  laws of the State of Massachusetts, with its principal place of business in the State of

  Massachusetts.

                                                    2.

         Upon information and belief, Defendant Michel is a resident and citizen of the State of

  Tennessee.

                                                    3.

         Upon information and belief, Check into Cash, Inc is a corporation with its principle

  place of business in Cleveland, Tennessee.

                                                    4.

         This Court has original jurisdiction over this action under the provisions of 28 U.S.C.

  § 1332, because it is a civil action in which the amount in controversy exceeds the sum of the

  SEVENTY-FIVE THOUSAND DOLLARS ($75,000.00), exclusive of interest and costs, and is

  between citizens of different states.


         A substantial amount part of the events and omissions giving rise to the claim arose in

  this jurisdiction and the Defendant Michel is subject to personal jurisdiction in this district.

                                                    5.

         Venue in this action is proper pursuant to 28 U.S.C. § 1391.




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          THE ELECTRIC INSURANCE POLICY AND LIABILITY COVERAGES

                                                 6.

          Electric issued a Homeowners Policy Number 6296491H1, (hereinafter referred to as the

  “Policy”) which includes a Homeowners Plus Endorsement, to Defendant Michel, with effective

  terms of coverage from August 8, 2010 until August 8, 2011, subject to the terms, conditions and

  exclusions contained in the Policy. (A certified copy of the Policy is attached hereto as Exhibit

  “A”).

                                                 7.

          The policy maintains limits of liability of $500,000.00 for Personal Liability (Bodily

  Injury & property Damage) Each Occurrence. (Ex. A).

                                                 8.

          Homeowner Policy 6296491H1 contains the following relevant provisions.

          AGREEMENT

          We will provide the insurance described in this policy in return for the premium and
          compliance with all applicable provisions of this policy.

          DEFINITIONS

     2. “Bodily injury" means bodily harm, sickness or disease, including required care,
        loss of services and death that results.

     3. "Business" means:

             a. A trade, profession or occupation engaged in on a full-time, part-time or
                occasional basis; or

             b. Any activity engaged in for money or other compensation, except the following:



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              (1)     One or more activities, not described in (2) through (4) below, for which no
                    "insured" receives more than $2,000 in total compensation for the 12 months
                    before the beginning of the policy period;

              (2) Volunteer activities for which no money is received other than payment for
                  expenses incurred to perform the activity;

              (3) Providing home day care services for which no compensation is received, other
                  than the mutual exchange of such services; or

              (4) The rendering of home day care services to a relative of an "insured".

      5. "Insured" means:
         a. You and residents of your household who are:

              (1) Your relatives; or
              (2) Other persons under the age of 21 and in the care of any person named
                  above;
      8. "Occurrence" means an accident, including continuous or repeated exposure to
         substantially the same general harmful conditions, which results, during the policy
         period, in:

         a.         "Bodily injury"; or

         b.         "Property damage".
      9. "Property damage" means physical injury to, destruction of, or loss of use of
         tangible property.
  SECTION II – LIABILITY COVERAGES
   A. Coverage E – Personal Liability
         If a claim is made or a suit is brought against an "insured" for damages because of
         "bodily injury" or "property damage" caused by an "occurrence" to which this
         coverage applies, we will:
         1. Pay up to our limit of liability for the damages for which an "insured" is legally
            liable. Damages include prejudgment interest awarded against an "insured"; and
         2. Provide a defense at our expense by counsel of our choice, even if the suit is
            groundless, false or fraudulent. We may investigate and settle any claim or suit
            that we decide is appropriate.
  SECTION II – EXCLUSIONS
  E. Coverage E – Personal Liability And Coverage F – Medical Payments To Others




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         Coverages E and F do not apply to the following:
         1. Expected Or Intended Injury
            "Bodily Injury" or "property damage" which is expected or intended by one or
            more "insureds";
  SECTION II – LIABILITY COVERAGE (Homeowners Plus Endorsement G10196)

     Personal Injury

     Under Coverage E – personal liability, the definition of bodily injury is amended to
     include personal injury.

     “Personal injury” means injury arising out of one or more of the following offenses.

         (1) false arrest, detention or imprisonment, or malicious prosecution;

         (2) libel, slander or defamation of character; or

         (3) invasion of privacy, wrongful eviction or wrongful entry.
  SECTION II – Exclusions do not apply to personal injury. Personal Injury Insurance does
  not apply to:

         (2) injury caused by a violation of a penal law or ordinance committed by or with
             the knowledge or consent of an insured;
         (4) injury arising out of the business pursuits of an insured;


                                     UNDERLYING ACTION

                                                   9.

         On or about July 30, 2011, Check Into Cash, Inc. filed a lawsuit against David A. Michel

  in the Chancery Court for Bradley County, Tennessee, bearing Civil Action No. 2011-CV-157

  (hereinafter referred to as the “Underlying Suit”). (A true and accurate copy of the Complaint,

  with attached Exhibits, in the Underlying Suit is attached hereto as Exhibit “B”).




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                                                  10.

         The Complaint in the Underlying Suit alleges that Check into Cash is a general short-

  term consumer lending business which includes payday advances, payday loans, checking

  cashing, money orders, title loans and the like. (Ex. B.)

                                                  11.

         On December 29, 2006, the Defendant became employed with the Plaintiff and signed an

  Employment, Confidentiality, and Non-Competition Agreement (“Employment Agreement”)

  with the Plaintiff. (Ex. B.)

         According to the Complaint, the Employment Agreement provides that David Michel:

  “(iii) interfere with, disrupt, or attempt to disrupt relationship, contractual or otherwise, between

  the company and its employees, contractors, and customers;” (Ex. B.)

                                                  12.

         On or about April 19, 2011, the Plaintiff Check into Cash terminated the Defendant

  Michel for gross misconduct and mismanagement. (Ex. B.)

                                                  13.

         Check into Cash asserts that Defendant Michel has embarked on a course of conduct

  designed and intended to interfere with and disrupt the Plaintiff’s business in violation of

  common law and his contractual duties with the Plaintiff. (Ex. B.)




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                                                   14.

         Further, the Complaint asserts that Defendant Michel published to third persons

  malicious, slanderous, false, scandalous, and defamatory words as related to Check into Cash, as

  well as employees of Check into Cash. “These defamatory words include, but are not limited to,

  statements claiming that Check into Cash and/or its employees are corrupt, bottom-feeders, seed,

  racist, assholes, perverts, suffer from psychiatric disorders and are bi-polar.” (Ex. B.)

                                                   15.

         The Complaint also asserts that Defendant Michel invaded the privacy of the Plaintiff

  Check into Cash by publishing false and defamatory states as related to it on the internet while at

  the same time falsely impersonating and representing to be officers and employees of the

  Plaintiff Check into Cash, including, but not limited to, Steve “Doughball” Hixon and Steve

  “Slag” Scoggins. (Ex. B.)

                                                   16.

         Finally, the complaint alleges that Defendant Michel impersonated and falsely

  represented to be communicating to the public on behalf of one of the Plaintiff Check into Cash’s

  affiliates known as the Bald Headed Bistro. Defendant Michel also falsely impersonated and

  represented himself to be an employee of Check into Cash named Randy Jarrett, while at the

  same time using the racist identity of “The Little Chocolate Man.” Plaintiff Check into Cash

  asserts that these intrusions by the Defendant go beyond the limits of decency. (Ex. B.)




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                                                   17.

         Based on the foregoing claims, Check into Cash has alleged the following causes of

  action in the underlying matter,

         a.      Breach of Contract.

         b.      Breach of Duty of Loyalty

         c.      Defamation/Libel

         “17. The Defendant’s false and defamatory statements have been intended to

         falsely attack the reputation of the Plaintiff and its employees, expose the Plaintiff to

         public hatred, contempt, and ridicule, and deprive the Plaintiff of the benefit of public

         confidence and the Plaintiff has been thusly damaged and continues to be damages.”

         (Ex. B. pg. 6)

         d.      Invasion of Privacy/False Light

         “19. The Defendant has maliciously invaded the privacy of the Plaintiff and its

         employees and affiliate companies by publicly casting the Plaintiff, its employees and

         affiliate companies in a false light. The Defendant has further maliciously

         misappropriated the name and likeness of the Plaintiff, its employees, officers and

         affiliate companies while publicly casting the aforesaid in a false light. (Ex. B. pg. 7)

         20. As the result of the Defendant’s actions, the Plaintiff has suffered public ridicule and

         humiliation and the Plaintiff has been thusly damaged and continues to be damaged.”

         (Ex. B. pg. 7)




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           e. False Impersonation

           “22. The Defendant has falsely represented the identity of the Plaintiff, its employees,

           officers and affiliate companies with the intent to injure the aforesaid and the Plaintiff has

           been thusly damaged and continues to be damaged.” (Ex. B. pg. 7)

                                                    18.

           Plaintiff Check into Cash seeks punitive damages for Defendant David Michel’s

  intentional, reckless, malicious, and/or fraudulent actions as set forth in the Complaint. (Ex. B.

  pg. 7)

                                                    19.

           Plaintiff Check into Cash seeks a restraining order, enjoining and prohibiting the

  Defendant from publishing false and slanderous words as related to the Plaintiff, it employees,

  officers and/or subsidiaries and affiliate companies; (3) retraining, enjoining, and prohibiting the

  Defendant from publishing false and defamatory statements on the internet as related to the

  Plaintiff, it employees, officers and/or subsidiaries and affiliate companies, while falsely

  impersonating and representing to be officers and employees of the Plaintiff.

                                                    20.

           Under this strict reservation of rights, Electric is currently providing Defendant David

  Michel with a defense in the Underlying Suit. In providing this defense, Electric has reserved its

  rights to later withdraw its defense and/or disclaim coverage and indemnification for all or part

  of any judgment which may be obtained against Defendant David Michel in the Underlying Suit.



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                                                   21.

          Under the strict reservation of rights, Electric has also specifically reserved its rights to

   seek any and all costs, including attorney fees, associated with defending the underlying suit.

                                   DECLARATORY JUDGMENT

                                                   22.

          Electric asserts that the Policy at issue does not provide, and expressly excludes,

   coverage for the facts and allegations upon which the Underlying Suit against Defendant Michel

   is based, and therefore, Electric has no duty to defend or indemnify Defendant Michel for the

   claims asserted against him in the Underlying Suit.

                                                   23.

          Specifically, the alleged conduct of Defendant Michel arose out of conduct which

   amounts to an act that was conducted with the knowledge or consent of the insured that

   constitutes a “violation of a penal law or ordinance.”


          Plaintiff avers that Defendant Michel’s alleged decision to invade the privacy of Check-

   into-Cash and engage in libel, slanderous, and defamatory conduct, as plead in the Complaint,

   amounts to the following criminal acts under Tennessee law: False Personation, T.C.A. § 39-16-

   301; Criminal Impersonation, T.C.A. 39-16-301; Criminal Libel, T.C.A. § 39-2701; and

   Deceptive Business Practices, T.C.A. 39-14-127.

                                                   24.

          Additionally or alternatively, the alleged conduct of Defendant amounts to an “injury

   arising out of the business pursuits of an insured,” and is therefore specifically excluded under



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   the policy of insurance. As noted in the underlying Complaint, following Defendant David

   Michel’s discharge from Check-into-Cash, he became employed with a Company that competes

   with Check-into-Cash within the short-term lending business industry known as Clearvox, LLC.

   (See. Ex.B. pgs. 4-5) In furtherance of his business pursuits, whether it be deemed full-time,

   part-time, and/or occasional, Michel embarked on a course of conduct designed and intended to

   interfere and disrupt Check into Cash’s business. Id. at 4. Namely, Michel, has allegedly

   published to third persons malicious, slanderous, false, scandalous, and defamatory words related

   to Check-into-Cash. Id. Michel has also invaded the privacy of Check-into-Cash by publishing

   false and defamatory statements, while at the same time using the racist identity of “The Little

   Chocolate Man.” Id.

                                                      25.

          Electric asserts that a genuine dispute exists regarding the coverage issues mentioned

   above and that declaratory judgment is necessary to clarify these uncertain issues.

                                                      26.

          If Electric’s contentions are correct, then Electric would be under no duty to defend

   Defendant Michel with respect to the Underlying Suit, and Electric would be under no obligation

   to pay any judgment in connection with the above-described acts. However, should Electric

   withdraw its defense in the underlying lawsuit without a declaration from this Court, it could risk

   a claim for breach of contract or bad faith.




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                                                   27.

           Therefore, Electric is placed in jeopardy by the continued expense of the defense of

   Defendant Michel in the Underlying Suit until Electric receives the declaration of rights and

   duties it seeks.


           Wherefore, Plaintiff Electric respectfully requests:


           A.     For Declaratory Judgment declaring the rights and liabilities of the parties to the

                  insurance contract which is attached hereto;


           B.     For Declaratory Judgment that Plaintiff has no duty to defend Defendant David

                  Michel in the Underlying Suit;


           C.     For Declaratory Judgment that Plaintiff Electric has no duty to indemnify

                  Defendant Michel in the Underlying Suit;


           D.     For Declaratory Judgment that Electric is entitled to recover all costs, including

                  attorney fees, associated with providing a defense for Michel in the underlying

                  action.


           D.     For costs in this action;


           E.     For such other and further relief as this Honorable Court may deem proper under

                  the circumstances;


           F.     For process and summons issued to each of the Defendants herein and that service

                  on the Defendants be had as required by law.




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        This 30th day of November, 2011.




                                             Respectfully submitted,
                                             BOYLE BRASHER LLC


                                             _s/Rodrick D. Holmes_____
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                                             ATTORNEYS FOR DEFENDANT




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